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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )

                APPLICATION FOR ENTRY OF AN ORDER
         (I) AUTHORIZING THE RETENTION AND EMPLOYMENT
  OF DUCERA PARTNERS LLC AS INVESTMENT BANKER TO THE DEBTORS
EFFECTIVE AS OF THE PETITION DATE, AND (II) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”),

represent as follows in support of this application (the “Application”): 2

                                                 Relief Requested

             1.     The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit B (the “Order”), pursuant to sections 105(a), 327(a), and 328(a) of title 11 of the United

States Code (the “Bankruptcy Code”), rules 2014(a) and 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rules 2014-1 and 2016-2 of the Local Rules for the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”), authorizing the

retention and employment of Ducera Partners LLC and its affiliates including, where appropriate,

Ducera Securities LLC (collectively, “Ducera”) as investment banker to the Debtors effective as



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
      the Debtors’ chapter 11 cases, is set forth in the Declaration of Matthew A. Doheny, Chief Restructuring Officer
      of Yellow Corporation, in Support of the Debtors’ Chapter 11 Petitions and First Day Motions [Docket No. 14]
      (the “First Day Declaration”). Capitalized terms used but not immediately defined in this motion have the
      meanings ascribed to them later in this motion or in the First Day Declaration, as applicable.
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of the Petition Date (defined below) in accordance with the terms and conditions set forth in the

engagement letter, effective as of February 6, 2023, as amended and restated by that certain

superseding engagement agreement, dated June 30, 2023 (as amended and superseded,

the “Engagement Letter”), a copy of which is attached to the Order as Exhibit 1. In support of this

Application, the Debtors submit the [Declaration of Cody Kaldenberg in Support of the Debtors’

Application for Entry of an Order (I) Authorizing the Retention and Employment of Ducera

Partners LLC as Investment Banker to the Debtors Effective as of the Petition Date, and

(II) Granting Related Relief] (the “Kaldenberg Declaration”), which is attached hereto as

Exhibit A, and incorporated herein by reference. In further support of this Application, the

Debtors respectfully state as follows:

                                     Jurisdiction and Venue

       2.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157

pursuant to the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012. The Debtors confirm their consent, pursuant

to rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), to the entry of a final order by

the Court in connection with this motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The statutory bases for the relief requested herein are sections 105(a), 327(a), and

328(a)of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”),




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rules 2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

and Local Rules 2014-1 and 2016-2.

                                           Background

       5.      On August 6, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. These chapter 11 cases have been

consolidated for procedural purposes only and are being jointly administered pursuant to

Bankruptcy Rule 1015(b) [Docket No. 169]. The Debtors are managing their businesses and their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

On August 16, 2023, the United States Trustee for the District of Delaware (the “U.S. Trustee”)

appointed an official committee of unsecured creditors [Docket No. 269] (the “Committee”).

No trustee or examiner has been appointed in these chapter 11 cases.

       6.      Additional factual background and information regarding the Debtors, including

their business operations, their corporate and capital structure, their restructuring activities, and

the events leading to the commencement of these Chapter 11 Cases, is set forth in the Declaration

of Cody Leung Kaldenberg, Founding Member and Partner at Ducera Partners LLC in Support

of the Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to

(A) Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens and

Superpriority Administrative Expense Claims, (III) Modifying the Automatic Stay, (IV) Authorizing

the Debtors to Use UST Cash Collateral, (V) Granting Adequate Protection, (VI) Scheduling a

Final Hearing, and (VII) Granting Related Relief [Docket No. 18] (the “Kaldenberg First Day

Declaration”), which is incorporated herein by reference.

                                     Ducera’s Qualifications

       7.      As set forth in the Kaldenberg Declaration, Ducera is an investment banking firm

that maintains an office located at 11 Times Square, 36th Floor, New York, New York 10036.


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Ducera’s seasoned professionals, with roots in complex corporate finance, offer impartial and

independent strategic advice to stakeholders in a broad range of transactions and industry sectors.

Ducera specializes in, among other things, providing clients with leading-edge capital structure

and restructuring advice and services in workout and bankruptcy situations.

       8.      Ducera and its professionals have extensive experience working with financially

distressed companies within a variety of industries in complex financial restructurings, both out of

court and in chapter 11 cases. Founded in 2015, Ducera’s business reorganization professionals

have served as financial and strategic advisors in a number of recent in-court restructurings,

including:   (a) In re Diebold Holding Co., LLC, No. 23-90602 (DRJ) (Bankr. S.D. Tex.

July 18, 2023) [Docket No. 266]; (b) In re Virgin Orbit Holdings, Inc., No. 23-10405 (KBO)

(Bankr. D. Del. May 15, 2023) [Docket No. 261]; (c) In re Core Scientific, Inc., No. 22-90341

(DRJ) (Bankr. S.D. Tex. March 13, 2023) [Docket No. 675]; (d) In re Endo Int’l plc., No. 22-22549

(JLG) (Bankr. S.D.N.Y. Oct. 25, 2022) [Docket No. 527]; (e) In re GBG USA Inc., No. 21-11369

(MEW) (Bankr. S.D.N.Y. Sept. 22, 2021) [Docket No. 230]; (f) In re Mallinckrodt plc,

No. 20-12522 (JTD) (Bankr. D. Del. Mar. 16, 2021) [Docket No. 1741]; and (g) In re Superior

Energy Servs., Inc., No. 20-35812 (DRJ) (Bankr. S.D. Tex. Feb. 2, 2021) [Docket No. 316].

Ducera has experience in a variety of industries, providing specialized advice on matters including,

but not limited to, restructurings, mergers, acquisitions, financings, capital structure advisory and

chapter 11 sales.

       9.      As an internationally recognized advisory firm, Ducera has an excellent reputation

for advising both debtors and creditors in large and complex chapter 11 cases. The Debtors believe

that Ducera and its professionals are well qualified to serve as their investment banker in the

Chapter 11 Cases.




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                                                 Scope of Services

        10.       During the Term (as defined in the Engagement Letter), Ducera shall provide

financial advisory and investment banking services to the Debtors relating to the services set forth

herein: 3

        (a)       General Financial Advisory and Investment Banking Services. Ducera
                  shall: (1)familiarize itself with the business, operations, financial condition,
                  financial statements, business plans, forecasts, and capital structure of the
                  Debtors; (2) assist with the evaluation of the Debtors’ debt capacity and
                  alternative capital structures in light of its projected financial performance;
                  and (3) provide such other advisory services as are customarily provided in
                  connection with the analysis and negotiation of any of the transactions
                  contemplated by the Engagement Letter.

        (b)       Financing Services. 4 Ducera shall: (1) provide financial advice to the
                  Debtors in connection with the structure and effectuation of a Financing,
                  identify potential Investors and, at the Debtors’ request, contact and solicit
                  such Investors; and (2) assist with the arrangement of a Financing, including
                  identifying potential sources of capital, assisting in the due diligence
                  process, and negotiating the terms of any proposed Financing; provided,
                  however, it is understood that nothing contained in the Engagement Letter
                  shall constitute an express or implied commitment by Ducera to act in any
                  capacity or to underwrite, place or purchase any financing or securities,
                  which commitment shall only be set forth in a separate underwriting,
                  placement agency or other appropriate agreement relating to the Financing.

        (c)       Sale Services. 5 If requested by the Debtors, Ducera shall: (1) provide
                  financial advice to the Debtors in structuring, evaluating and effectuating a

3
    To the extent that this Application and the terms of the Engagement Letter are inconsistent, the terms of the
    Engagement Letter shall control.
4
    The term “Financing” is defined in the Engagement Letter as follows: “[A] private issuance, sale, or placement
    of the equity, equity-linked, preferred equity, including warrants or hybrid capital, convertible debt, financing
    instruments, obligations, or debt (including, but not limited to, revolving credit and asset backed lending facilities,
    and debtor-in-possession financing and any amendment or extension of the Company’s existing debt or equity as
    of the date hereof) of the Company with one or more lenders and/or investors, acceptable to the Company (each
    such lender or investor, an “Investor”).”
5
    The term “Sale” is defined in the Engagement Letter as follows: “[A]ny transaction or series of transactions (other
    than a Restructuring) involving: (a) an acquisition, merger, consolidation or other business combination pursuant
    to which the business or assets of the Company are, directly or indirectly, combined with, or acquired by, another
    non-affiliated company; (b) the acquisition, directly or indirectly, by a non-affiliated buyer or buyers (which term
    shall include a “group” of persons as defined in Section 13(d) of the Securities Exchange Act or 1934, as amended)
    of equity interests or options, or any combination hereof, constituting a majority of the then-outstanding stock of
    the Company or possessing a majority of the then-outstanding voting power of the Company (“Voting Stock”);
    (c) any other purchase or acquisition, directly or indirectly, by a non-affiliated buyer or buyers or a majority of


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                  Sale, identify potential counterparties and, at the Debtors’ written (email to
                  be sufficient) request, contact and solicit potential acquirers; and (2) assist
                  with the arrangement and execution of a Sale, including identifying
                  potential buyers or parties in interest, assisting in the due diligence process,
                  and negotiating the terms of any proposed Sale.

        (d)       Restructuring Services. 6 If requested by the Debtors, Ducera shall:
                  (1) analyze various Restructuring scenarios and the potential impact of
                  these scenarios on the value of the Debtors and the recoveries of those
                  stakeholders impacted by the Restructuring; (2) provide strategic advice
                  with regard to restructuring or refinancing the Debtors’ Existing
                  Obligations; 7 (3) provide financial advice and assistance to the Debtors in
                  developing a Restructuring; (4) in connection therewith, provide financial
                  advice and assistance to the Debtors in structuring any new securities to be
                  issued under a Restructuring; and (5) assist the Debtors and/or participate
                  in negotiations with entities or groups affected by the Restructuring.

                                          No Duplication of Services

        11.       Ducera understands that the Debtors have retained, and may retain, additional

professionals during the term of the engagement and will use its reasonable efforts to work

cooperatively with such professionals to integrate any respective work conducted by the



    the assets or Voting Stock of the Company; or (d) the formation of a joint venture partnership or similar entity
    with the Company or direct investment in the Company for the purposes of effecting a transfer of a majority of
    the Voting Stock of the Company to a third party, a lease of assets with or without a purchase option, a merger,
    consolidation or other business combination, a tender offer, or any similar transaction.”
6
    The term “Restructuring” is defined in the Engagement Letter as follows: “[A]ny restructuring, reorganization,
    modification, rescheduling and/or recapitalization (other than a Sale) (whether or not pursuant to one or more
    proceedings voluntarily or involuntarily commenced under chapters 7 or 11 of title 11 of the United States Code,
    11 U.S.C. 101–1532 (as amended, the “Bankruptcy Code”) or any cases converted thereto (the “Bankruptcy
    Cases” and the court having jurisdiction over such cases, the “Bankruptcy Court”)) of the Company’s Existing
    Obligations (as defined herein) that is achieved through, without limitation: (a) a solicitation of material waivers
    and consents from the holders of Existing Obligations; (b) rescheduling of the maturities of Existing Obligations;
    (c) a material change in interest rates, repurchase, settlement, repayment, or forgiveness of Existing Obligations;
    (d) a material amendment to the Existing Obligations; (e) conversion of Existing Obligations into equity; (f) an
    exchange offer, or an amend-and-extend involving the issuance of new loans and/or securities in exchange for
    Existing Obligations (including, for the avoidance of doubt, any general forbearance granted by holders of
    Existing Obligations); (g) a sale of all, or a material portion, of the Company’s assets pursuant to §363 of the
    Bankruptcy Code (a “363 Sale”); or (h) other similar transaction or series of transactions.”
7
    The term “Existing Obligations” is defined in the Engagement Letter as follows: “[T]he material outstanding
    indebtedness of the Company including, but not limited to, bank debt, bond debt, asset back lending facilities,
    term loans, credit facilities, trade claims, leases (both on and off-balance sheet), pension obligations, litigation-
    related claims and obligations, other on and off-balance sheet indebtedness, workers’ compensation claims and
    obligations, and other liabilities.”



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professionals on behalf of the Debtors. The services that Ducera will provide to the Debtors are

necessary to enable the Debtors to maximize the value of their estates. The Debtors believe that

the services will not duplicate but, rather, will complement, the services that other professionals

will be providing to the Debtors in the Chapter 11 Cases. Ducera will carry out unique functions

and will use reasonable efforts to coordinate with the Debtors’ other retained professionals to avoid

the unnecessary duplication of services.

                                     Professional Compensation

        12.     Investment bankers such as Ducera do not typically charge for their services on an

hourly basis. Instead, they customarily charge periodic retainer fees plus additional fees that are

contingent upon the occurrence of a specified type of transaction. The compensation arrangements

that have been negotiated between Ducera and the Debtors are highly beneficial to the Debtors as

they provide certainty and proper inducement for Ducera to act expeditiously and prudently with

respect to the matters for which it will be employed. The Debtors are seeking to retain Ducera

under section 328(a) of the Bankruptcy Code, thus the Debtors believe that Ducera’s compensation

should not be subject to any additional standard of review under section 330 of the Bankruptcy

Code, and does not constitute a “bonus” or fee enhancement under applicable law.

        13.     In consideration of the services to be provided by Ducera, and as more fully

described in the Engagement Letter, subject to the Court’s approval, the applicable provisions of

the Bankruptcy Code, Bankruptcy Rules, and Local Rules, the Debtors have agreed to pay Ducera

the proposed compensation set forth in the Engagement Letter (the “Fee and Expense Structure”),

which may be summarized as follows: 8




8
    Capitalized terms used but not defined in this Paragraph 13 shall have the meaning given to them in the
    Engagement Letter.



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        (a)       Retainer and Monthly Advisory Fee: for services rendered in accordance
                  with subparagraph 10(a) of this Application:

                           (1)       a one-time nonrefundable fee of $500,000, which shall be earned,
                                     due, and payable upon execution of the Engagement Letter and shall
                                     be credited against the Financing Fee as set forth therein (the
                                     “Retainer Fee”); plus,

                           (2)       commencing as of June 1, 2023, the Debtors shall pay Ducera a non-
                                     refundable monthly cash fee of $200,000, due and payable on the
                                     first day of each and every month during the Term (as defined in the
                                     Engagement Letter) (the “Monthly Advisory Fee”).

        (b)       Financing Fee: for services rendered in accordance with subparagraph
                  10(b) of this Application, a financing fee, which shall be earned, due, and
                  payable upon (and subject to the occurrence of) the closing of a Financing
                  (the “Financing Fee”). The Financing Fee shall be:

                           (1)       1.0% of the face amount of senior secured debt (including, but not
                                     limited to, revolving credit and asset backed lending facilities)
                                     Raised; 9

                           (2)       3.0% of the face amount of any unsecured and junior secured debt
                                     Raised; and

                           (3)       5.0% of any equity capital, convertible, or hybrid capital, including
                                     warrants, or similar contingent equity securities Raised.

        (c)       Transaction Fee: for services rendered in accordance with subparagraph
                  10(c) and subparagraph 10(d) of this Application, a transaction fee, which
                  shall be due and payable upon consummation of a Sale or a Restructuring




9
    The term “Raised” is defined in the Engagement Letter as follows: “[T]he total amount committed by an Investor
    on the closing date of such Financing, in each case on terms acceptable to the Company, irrespective as to whether
    or not the Company draws any or all of the amount committed by an Investor, and whether or not the Company
    applies such amounts to finance any of its obligations or a transaction. For illustrative purposes, in connection
    with any revolving credit or asset backed lending facilities, all fees set forth in Section 2 shall be calculated based
    on the total amount of the facility, including any letters of credit, irrespective as to whether the Company is
    permitted immediately to draw upon the full amount of facility, including any borrowing base, at the time of
    commitment.”



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                   (the “Transaction Fee”). 10 The Transaction Fee shall be calculated as the
                   greater of: 11

                            (1)       In the event of a Restructuring, a fee of $15,000,000 due and payable
                                      upon consummation of a Restructuring; and

                            (2)       In the event of a Sale, including through a 363 Sale, a fee equal to
                                      the Transaction Value multiplied by the Applicable Fee percentage
                                      reflected in the chart below: 12


10
     As set forth in the Engagement Letter, a “Restructuring shall be deemed to have been consummated upon: (a) the
     closing of the applicable transaction by which the Existing Obligations of the Company are to be restructured or
     refinanced; or (b) in the case of a Court approved Restructuring, the date that the applicable Chapter 11 plan of
     reorganization becomes effective in accordance with the terms and conditions thereof; provided, that if the
     Restructuring is to be completed, in whole or in part, through a public exchange offer, pre-arranged or
     prepackaged Restructuring, or a 363 sale process (as defined herein): (i) 50% of the Restructuring Fee shall be
     earned and shall be payable upon obtaining support (e.g. via a term sheet, restructuring support agreement or
     other agreement in principle documenting they key terms of such prearranged Plan) from one or more of the
     Company’s key creditor classes that is sufficient to justify launching such exchange offer or filing such pre-
     arranged or pre-packaged Restructuring; and (ii) the remainder of such fees shall be earned and shall be payable
     upon consummation of the Restructuring; provided, further, that in the event that Ducera is paid a Restructuring
     Fee in connection with a prearranged or pre-packaged Restructuring, and such a Restructuring is not thereafter
     consummated, then such fee previously paid to Ducera may be credited by the Company against any subsequent
     fee hereunder that becomes payable by the Company to Ducera or, if such crediting does not equal 100% of the
     pre-paid portion of the Restructuring Fee, then such fee shall be returned to the Company upon the termination
     of the [Engagement Letter].”
11
     For the avoidance of doubt, in the context of a 363 Sale, Ducera will not separately earn a Restructuring Fee on
     any plan of reorganization under the Bankruptcy Code that simply distributes proceeds from such 363 Sale.
12
     The term “Transaction Value” is defined in the Engagement Letter as follows: “(a) all cash paid or payable to the
     Company or its shareholders (or holders of executive equity awards (“Awards”)) by the purchaser in the Sale
     (including indemnity and net working capital escrow amounts); (b) the fair market value of all notes, securities
     and other property issued or delivered or to be issued or delivered to the Company or its shareholders (including
     holders of Awards) by the purchaser in the Sale; (c) liabilities, including all indebtedness for borrowed money of
     the Company or its Subsidiaries, pension liabilities, non-ordinary course guarantees, plus any amount required to
     be shown on a consolidated balance sheet of the Company as of the most recent quarterly consolidated balance
     sheet date for capitalized leases, in all cases provided that such liabilities, indebtedness or capital leases are still
     outstanding as of the closing date of the Sale and directly or indirectly assumed, refinanced, extinguished or
     consolidated by the purchaser; (d) amounts paid or payable to the Company’s direct or indirect security holders
     and management under consulting, non-compete or similar agreements; (e) if the Sale includes the disposition of
     assets, the value of net current assets of the business that is the target of the Sale that are not sold in the Sale;
     (f) the amount of any extraordinary dividends or distributions paid to the Company’s shareholders (including
     Awards) in connection with or contemplated by the Sale; and (g) if the Sale takes the form of a recapitalization,
     restructuring or similar transaction, the fair market value of equity securities retained, directly or indirectly, by
     the Company’s shareholders (including Awards) upon consummation of such a Sale (such securities and all
     securities received by such shareholders being deemed to have been paid to such security holders in such a Sale).
     For purposes of computing Transaction Value hereunder, non-cash consideration will be valued as follows:
     (x) publicly traded securities will be valued at the average of their closing prices (as reported in The Wall Street
     Journal or other reputable source reasonably designated by Ducera if The Wall Street Journal does not publish
     such closing prices) for the five trading days prior to the closing of a Sale, (y) options will be valued using the
     treasury stock method without giving effect to tax implications, and (z) the value of any cash held at the Company,


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                                                               Applicable Fee % for Transaction Value
          Transaction Value Component
                                                                            Component13
 Transaction Value of less than $200 million                                   2.000%
 Transaction Value between $200 million and                                          1.650%
 $300 million
 Transaction Value between $300 million and                                          1.500%
 $400 million
 Transaction Value between $400 million and                                          1.400%
 $500 million
 Transaction Value between $500 million and                                          1.300%
 $600 million
 Transaction Value between $600 million and                                          1.200%
 $700 million
 Transaction Value between $700 million and                                          1.150%
 $800 million
 Transaction Value between $800 million and                                          1.100%
 $900 million
 Transaction Value between $900 million and                                          1.050%
 $1.0 billion
 Transaction Value between $1.0 billion and                                          1.000%
 $1.25 billion
 Transaction Value between $1.25 billion and                                         0.925%
 $1.5 billion
 Transaction Value between $1.5 billion and                                          0.850%
 $1.75 billion
 Transaction Value between $1.75 billion and                                         0.775%
 $2.0 billion
 Transaction Value in excess of $2.0 billion                                         0.700%

         (d)      Discount: the Debtors shall receive a discount of $100,000, per month
                  against the greater of the Transaction Fee and the Financing Fee for each
                  month commencing after payment of the sixth (6) Monthly Advisory Fee

     the value of all installment or any contingent payments to be made to the Company or its shareholders in a Sale
     (including Awards) or non-cash consideration will be determined in good faith by and between Ducera and the
     Company.”
13
     For illustrative purposes only, if the Debtors were to sell three (3) assets (Asset A for $100 million, Asset B for
     $350 million, and Asset C for $500 million) as part of an in-court Restructuring, the fee in accordance with
     subparagraph 10(c)(2) would be $13.75 million, calculated as follows (a) $2 million (2% of $100 million), (b)
     $5.25 million ($350 million at 1.50%), (c) $6.5 million ($500 million at 1.3%).



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               (the “Ducera Discount”); provided, however, that: (i) the Ducera Discount
               shall only apply if any and all outstanding invoices for Monthly Advisory
               Fees have been paid before, or in connection with, the consummation of a
               Transaction, Sale or Financing; (ii) that no Monthly Advisory Fee shall be
               credited more than once; and (iii) in no event shall the aggregate fees be
               reduced below zero.

       (e)     Expenses and Payments: in addition to the fees set forth in this Paragraph
               13, the Debtors agree upon request to promptly reimburse Ducera for its
               reasonable and documented out-of-pocket expenses, including, but not
               limited to, travel and transportation expenses, third party research and
               telecommunication expenses, printing costs, courier and other shipping and
               mailing costs and, in the case of advisors, limited to the reasonable expenses
               of Ducera’s one external legal counsel, any other professional advisors
               approved by the Debtors, and other reasonable and documented out of
               pocket expenses incurred in connection with Ducera’s engagement or the
               performance of services hereunder or any other assignments undertaken by
               Ducera at the Debtors’ request; provided, however, that this subparagraph
               13(e) shall in no way affect the Debtors’ obligations as set forth in Annex
               A of the Engagement Letter. All payments due under this Application shall
               be made in U.S. dollars in immediately available funds, free and clear of
               any set off, claim, and applicable taxes (with appropriate gross up for any
               taxes withheld).

       14.     The Debtors and Ducera acknowledge and agree that the Debtors are under no

obligation to consummate a Financing, a Sale, or a Restructuring as set forth herein and, in the

event the Debtors are unable or unwilling to do so, the Debtors shall have no obligation or liability

(other than the Terms and Conditions set forth in Annex A of the Engagement Letter) to Ducera.

The Debtors and Ducera further acknowledge and agree that: (a) hours worked, (b) the results

achieved and (c) the ultimate benefit to the Debtors of the work performed, in each case, in

connection with this engagement, may be variable, and that the Debtors and Ducera have taken

such factors into account in setting the fees hereunder. To the extent further services are requested

by the Debtors, the Debtors and Ducera acknowledge and agree to negotiate in good faith a

reasonable scope of services and fee structure in connection with any such further services

provided by Ducera, depending on the size, scope, and nature of the services to be provided.




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       15.     Ducera will maintain records in support of any actual, necessary costs and expenses

incurred in connection with the rendering of its services in the Chapter 11 Cases.

               The Fee and Expense Structure is Appropriate and Reasonable

       16.     The Debtors believe that the Fee and Expense Structure summarized above and

described more fully in the Engagement Letter is comparable to compensation arrangements

entered into by Ducera and other comparable firms rendering similar services under similar

circumstances and is reasonable, market-based and merited by Ducera’s expertise. The Fee and

Expense Structure is designed to compensate Ducera fairly for its work and to cover customary

expenses.

       17.     The Fee and Expense Structure summarized above and described more fully in the

Engagement Letter is consistent with Ducera’s normal and customary billing practices for

comparably sized and complex cases and transactions, both in- and out-of-court, involving the

services to be provided in connection with the Chapter 11 Cases.

       18.     Other than as set forth in this Application or in the Engagement Letter, there is no

proposed arrangement between the Debtors and Ducera for compensation to be paid in the Chapter

11 Cases. Ducera has not shared or agreed to share any of its compensation from the Debtors with

any other person, other than as permitted by section 504 of the Bankruptcy Code.

       19.     Ducera is not a creditor of the Debtors’ estates and has been fully paid by the

Debtors for all prepetition services rendered by Ducera to the Debtors.

                     Record Keeping and Applications for Compensation

       20.     The Debtors respectfully request that Ducera’s professionals only be required to

maintain records (in summary format) of the services rendered to the Debtors, including

(a) summary descriptions of those services, (b) the approximate time expended in providing those

services in half-hour (0.5) increments and (c) the identity of the professionals who provided those


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services. Consistent with industry practice, investment banking firms—including Ducera—do not

maintain time records on a “project category” basis similar to those customarily kept by attorneys

and required by Local Rule 2016-2(d). Pursuant to Local Rule 2016-2(h), Ducera should be

excused from compliance with such information requirements set forth in Local Rule 2016-2(d)

with respect to Ducera’s professional fees only. Rather, the Debtors ask that Ducera should be

required only to maintain time records in half-hour (0.5) increments setting forth, in a summary

format, a description of the services rendered by each professional and the amount of time spent

on each date by each such individual in rendering services on behalf of the Debtors.

       21.      The Debtors further respectfully request that Ducera’s professionals not be required

to keep time records on a “project category” basis, and that its non-investment banking

professionals and personnel in administrative departments not be required to maintain time

records. To the extent that Ducera would otherwise be required to submit more detailed time

records for its professionals by the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, or

other applicable procedures and orders of the Court, the Debtors respectfully request that this Court

modify such requirements.

       22.      Ducera will file its own fee applications for its respective fees and expenses and, in

connection therewith, Ducera will also maintain detailed records of any actual and necessary costs

and expenses incurred in connection with the aforementioned services in accordance with its past

practice.    Ducera will present such records to the Court in its fee applications.         Ducera’s

applications for compensation and expense reimbursement will be paid by the Debtors pursuant to

the terms of the Engagement Letter, in accordance with Local Rule 2016-2(e) and any applicable

procedures established by the Court.




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                                           Indemnification

       23.       The Annex A to the Engagement Letter provides for indemnification and limitation

of liability (“Indemnification Provisions”) with respect to Ducera and its professionals relating to

the above summarized services which are reasonable and necessary under the circumstances.

       24.       Consistent with the practice in this jurisdiction, the Debtors request that the Court

approve the Indemnification Provisions reflected in Annex A to the Engagement Letter, subject to

the following:

       (a)       No Indemnified Persons (as defined in the Engagement Letter) shall be
                 entitled to indemnification, contribution, or reimbursement pursuant to the
                 Engagement Letter for services unless such services and the
                 indemnification, contribution, or reimbursement therefor are approved by
                 the Court;

       (b)       The Debtors shall have no obligation to indemnify any Indemnified Person,
                 or provide contribution or reimbursement to any Indemnified Person for any
                 claim or expense to the extent that is either: (i) judicially determined (the
                 determination having become final) to have arisen from any Indemnified
                 Person’s bad faith, gross negligence, willful misconduct, fraud, breach of
                 fiduciary duty, if any, or self-dealing; (ii) for a contractual dispute in which
                 the Debtors allege the breach of Ducera’s contractual obligations unless the
                 Court determines that indemnification, contribution, or reimbursement
                 would be permissible under In re United Artists Theater Company, 315 F.
                 3d 217 (3d Cir. 2003); or (iii) settled prior to a judicial determination as to
                 the exclusions set forth in clauses (i) and (ii) above, but determined by the
                 Court, after notice and a hearing, to be a claim or expense for which such
                 Indemnified Person should not receive indemnity, contribution, or
                 reimbursement under the terms of the Engagement Letter as modified by
                 the Order;

       (c)       If, before the earlier of (i) the entry of an order confirming a chapter 11 plan
                 in the Chapter 11 Cases (that order having become a final order no longer
                 subject to appeal) and (ii) the entry of an order closing the Chapter 11 Cases,
                 any Indemnified Person believes that it is entitled to the payment of any
                 amounts by the Debtors on account of the Debtors’ indemnification,
                 contribution and reimbursement obligations under the Engagement Letter
                 (as modified by the Order), including, without limitation, the advancement
                 of defense costs, Ducera must file an application therefor in the Court, and
                 the Debtors may not pay any such amounts to Ducera or any other
                 Indemnified Person before the entry of an order by the Court approving the
                 payment. This subparagraph (c) is intended only to specify the period of


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                time under which the Court shall have jurisdiction over any request for fees
                and expenses by Ducera and the other Indemnified Persons for
                indemnification, contribution, or reimbursement, and not a provision
                limiting the duration of the Debtors’ obligation to indemnify the
                Indemnified Persons. All parties in interest, including, for the avoidance of
                doubt, the United States Trustee for the District of Delaware (the “U.S.
                Trustee”), shall retain the right to object to any demand by any Indemnified
                Person for indemnification, contribution, or reimbursement; and

        (d)     During the course of the Chapter 11 Cases, any limitation of liability
                provisions in the Engagement Letter shall have no force or effect.

        25.     The Debtors and Ducera believe that the Indemnification Provisions contained in

the Engagement Letter are customary and reasonable for financial and investment advisory

engagements, both in- and out-of-court, and, as modified by the Order, reflect customary

qualifications and limitations on indemnification provisions.

        26.     The terms and conditions of the Engagement Letter were negotiated by the Debtors

and Ducera at arm’s length and in good faith.             The Debtors respectfully submit that the

Indemnification Provisions and other provisions contained in the Engagement Letter, viewed in

conjunction with the other terms of Ducera’s proposed retention, are reasonable and in the best

interests of the Debtors, their estates, and creditors.

                                           Basis for Relief

        27.     The Debtors seek authority to retain and employ Ducera as their investment banker

under section 327 of the Bankruptcy Code, which provides that a debtor is authorized to employ

professional persons “that do not hold or represent an interest adverse to the estate, and that are

disinterested persons, to represent or assist the [Debtors] in carrying out [their] duties under this

title.” See 11 U.S.C. § 327(a). Section 1107(b) of the Bankruptcy Code elaborates upon sections

101(14) and 327(a) of the Bankruptcy Code in cases under chapter 11 of the Bankruptcy Code and

provides that “a person is not disqualified for employment under section 327 of [the Bankruptcy




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Code] by a debtor in possession solely because of such person’s employment by or representation

of the debtor before the commencement of the case.” See 11 U.S.C. § 1107(b).

       28.     In addition, the Debtors seek approval of the Engagement Letter pursuant to section

328(a) of the Bankruptcy Code which provides, in relevant part, that the Debtors “with the court’s

approval, may employ or authorize the employment of a professional person under section 327 . .

. on any reasonable terms and conditions of employment, including on a retainer, on an hourly

basis, on a fixed or percentage fee basis, or on a contingent fee basis. . . .” See 11 U.S.C. § 328(a).

Section 328 of the Bankruptcy Code permits the compensation of professionals, including financial

and transaction advisors, on more flexible terms that reflect the nature of their services and market

conditions. As the United States Court of Appeals for the Fifth Circuit recognized in Donaldson

Lufkin & Jenrette Sec. Corp. v. Nat’l Gypsum Co. (In re Nat’l Gypsum Co.), 123 F.3d 861 (5th

Cir. 1997):

               Prior to 1978 the most able professionals were often unwilling to work for
               bankruptcy estates where their compensation would be subject to the
               uncertainties of what a judge thought the work was worth after it had been
               done. That uncertainty continues under the present § 330 of the Bankruptcy
               Code, which provides that the court award to professional consultants
               “reasonable compensation” based on relevant factors of time and
               comparable costs, etc. Under present § 328 the professional may avoid that
               uncertainty by obtaining court approval of compensation agreed to with the
               trustee (or debtor or committee).

Id. at 862 (citations omitted). Owing to this inherent uncertainty, courts have approved similar

arrangements that contain reasonable terms and conditions under section 328 of the Bankruptcy

Code. See, e.g., In re Sequential Brands Group, Inc., No. 21-11194 (JTD) (Bankr. D. Del.

Oct. 4, 2021); In re Chaparral Energy, Inc., No. 16-11144 (LSS) (Bankr. D. Del. June 10, 2016);

In re Energy & Exp. Partners, Inc., No. 15-44931 (RFN) (Bankr. N.D. Tex. Feb. 8, 2016).

       29.     Furthermore, the Bankruptcy Abuse Prevention and Consumer Protection Act of

2005 amended section 328(a) of the Bankruptcy Code, which now provides as follows:


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               The trustee, or a committee appointed under section 1102 of this title, with
               the court’s approval, may employ or authorize the employment of a
               professional person under section 327 or 1103 of this title, as the case may
               be, on any reasonable terms and conditions of employment, including on a
               retainer, on an hourly basis, on a fixed or percentage fee basis, or on a
               contingent fee basis.

11 U.S.C. § 328(a). This change makes clear that the Debtors are able to retain a professional on

a fixed or percentage fee basis, with bankruptcy court approval.

       30.     Accordingly, the Debtors believe that Ducera’s retention on the terms and

conditions proposed herein is appropriate.

                                    Ducera’s Disinterestedness

       31.     As noted above, Ducera has provided prepetition financial and restructuring

services to the Debtors. During the 90-day period prior to the commencement of the Chapter 11

Cases, Ducera received $622,888.71 from the Debtors for services performed and expenses

incurred prior to the Petition Date. Specifically, according to the Debtors’ books and records, the

Debtors paid Ducera:      (a) the Monthly Advisory Fees in the amount of $600,000.00 and

(b) reimbursement of expenses in the amount of $22,888.71.

       32.     To the best of the Debtors’ knowledge and except to the extent disclosed herein and

in the Kaldenberg Declaration: (a) Ducera is a “disinterested person” within the meaning of

section 101(14) of the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code

and does not hold or represent an interest materially adverse to the Debtors’ estates; and (b) Ducera

has no connection to the Debtors, their creditors, the Office of the U.S. Trustee, or other parties in

interest in the Chapter 11 Cases.

       33.     To the extent that any new relevant facts or relationships bearing on the matters

described herein during the period of Ducera’s retention are discovered or arise, Ducera will use

reasonable efforts to file a supplemental declaration, as required by Bankruptcy Rule 2014(a).



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                                               Notice

       34.      The Debtors will provide notice of this motion to: (a) the U.S. Trustee; (b) the

Committee and Akin Gump Strauss Hauer & Feld LLP as counsel to the Committee; (c) the office

of the attorney general for each of the states in which the Debtors operate; (d) United States

Attorney’s Office for the District of Delaware; (e) the Internal Revenue Service; (f) the United

States Securities and Exchange Commission; (g) the Junior DIP Lender and counsel thereto;

(h) the Junior DIP Agent and counsel thereto; (i) White & Case LLP, as counsel to the B-2

Lenders; (j) the Prepetition ABL Agent and counsel thereto; (k) the B-2 Agent and counsel thereto;

(l) the Prepetition UST Tranche A Agent and counsel thereto; (m) the Prepetition UST Tranche B

Agent, and counsel thereto; (n) the United States Department of Justice and Arnold & Porter Kaye

Scholer LLP as counsel to the United States Department of the Treasury; and (o) any party that

has requested notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). In

light of the nature of the relief requested, no other or further notice need be given.

                                         No Prior Request

       35.      No prior request for the relief sought in this Motion has been made to this or any

other court.




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       WHEREFORE, the Debtors respectfully request the entry of an Order, substantially in the

form attached hereto as Exhibit B, granting the relief requested herein, and such other and further

relief as the Court deems appropriate under the circumstances.


Dated: August 30, 2023
       Wilmington, Delaware
                                                      YELLOW CORPORATION, et al.,

                                                     /s/ Matthew A. Doheny
                                                     Yellow Corporation
                                                     Chief Restructuring Officer
